    Case 22-31641-mvl7                 Doc 374    Filed 09/26/23 Entered 09/26/23 15:04:53   Desc Main
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The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 26, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

       In re:                                               §
                                                            §   Chapter 7
       GOODMAN NETWORKS, INC.,                              §
                                                            §   Case No. 22-31641-mvl-7
                 Debtor.                                    §

      ORDER DENYING JOINT MOTION TO COMPEL TESTIMONY BY TRUSTEE OR IN
         THE ALTERNATIVE TO EXCLUDE TRUSTEE TESTIMONY AT HEARING

                CAME ON FOR HEARING on the 22d day of September, 2023, the Joint Motion to

      Compel Testimony by Trustee or in the Alternative to Exclude Trustee Testimony at Hearing

      [docket no. 355] (the “Motion”). Having considered the Motion, the objection thereto filed by the

      Chapter 7 trustee, the evidence, and the arguments of counsel, and for the reasons stated on the

      record of said hearing, it is hereby:

                ORDERED that the Motion is DENIED.

                                             # # # END OF ORDER # # #




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